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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS                           ETTT,FI T)
                                  EASTERN DIVISION                                 JAN 10    2017
                                                                                     t-lo-11
                                                                             THOMAS G. BRUTON
FEDERAL TRADE COMMISSION,                                                  CLERK, U.S. DISTRICT COURT


                       Plaintiff,                        Case No.

               v.
                                                           17-cv-00194
CREDIT BUREAU CENTER, LLC,
a limited liability company, formerly known as             _J_udge Matthew F. Kennelly
MYSCORE LLC, also doing business as                        Magistlate Judge Maria VilOez
EFREESCORE. COM, CREDITUPDATES.COM,
and FREECREDITNATION.COM,

MICHAEL BROWN,
individually and as owner and manager of
CREDIT BUREAU CENTER, LLC,

DANNY PIERCE, individually, and

ANDREW LLOYD, individually,

                       Defendants.


                      COMPLAINT FOR PERMANENT INJUNCTION
                          AND OTHER EOUITABLE RELIEF

       Plaintiff, the Federal Trade Commission ("FTC"), for its Complaint alleges:

        l.     The FTC brings this action under Section 13(b) of the Federal Trade Commission

Act ("FTC Act"), 15 U.S.C. $ 53(b); Section 5 of the Restore Online Shoppers' Confidence Act

("ROSCA"), 15 U.S.C. $ 8a0a; and Section 621(a)(I) of the Fair Credit Reporting Act

("FCRA"), l5 U.S.C. $ 1681s(a)(l), to obtain temporary, preliminary, and permanent injunctive

relief, rescission or reformation of contracts, restitution, the refund of monies paid, disgorgement

of ill-gotten monies, and other equitable relief for Defendants' acts or practices in violation of

Section 5(a) of the FTC Act, l5 U.S.C. $ a5(a); and in violation of Section 4 of ROSCA, l5


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U.S.C. $ 8403; and in violation of Section 612(9) of the FCRA, 15 U.S.C. $ 168lj(g), and the

Free Annual File Disclosures Rule,   l6 C.F.R. Part 610 ("Free Reports Rule"), recodified at 12

c.F.R. $$ 1022.1 30-1022.138.

                                 JURISDICTION AND VENUE

           2.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. $$ 133 1,1337(a),

and 1345, and 15 U.S.C. $$ 45(a),53(b), 1681s(a)(1), and 8404(a).

           3.   Venue is proper in this district under 28 U.S.C. $ 1391(bX2), (bX3), (c)(2), and

(d), and 15 U.S.C. $ 53(b).

                                           PLAINTIFF

           4.   The FTC is an independent agency of the United States Government created by

statute. l5 U.S.C. $$ 41-58. The FTC enforces Section 5(a) of the FTC Act, l5 U.S.C. $ 45(a),

which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also

enforces ROSCA, 15 U.S.C. $$ 8401 et seq., which prohibits certain methods of negative option

marketing on the Internet. The FTC also enforces Section 612(9) of the FCRA, 15 U.S.C.

$ 168lj(g), and the Free Reports Rule, l6 C.F.R. Part 610, recodified at 12 C.F.R. $$

1022.130-1022.138, which require certain prominent disclosures in advertisements for free credit

reports.

           5.   The FTC is authorized to initiate federal district court proceedings, by its own

attorneys, to enjoin violations of the FTC Act, ROSCA, the FCRA, and the Free Reports Rule,

and to secure such equitable relief as may be appropriate in each case, including rescission or

reformation of contracts, restitution, the refund of monies paid, and the disgorgement of ill-

gotten monies. 15 U.S.C. $$ 53(b), 56(a)(2)(A), 1681s(a)(l), and 8404(a).




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                                          DEFENDANTS

        6.     Defendant Credit Bureau Center, LLC, formerly known as MyScore LLC, and

also doing business as eFreeScore.com, CreditUpdates.com, and FreeCreditNation.com ("Credit

Bureau Center"), is a Delaware limited liability company with its registered address at 1209

Orange Street, Wilmington, Delaware 19801. Credit Bureau Center transacts or has transacted

business in this district and throughout the United States.

        7.     Defendant Michael Brown ("Brown") is the owner and manager of Credit Bureau

Center. At all times material to this Complaint, acting alone or in concert with others, he has

formulated, directed, controlled, had the authority to control, or participated in the acts and

practices of Credit Bureau Center, including the acts and practices set forth in this Complaint.

Defendant Brown, in connection with the matters alleged herein, transacts or has transacted

business in this district and throughout the United States. Among other things, Defendant Brown

has controlled the processing of payments from consumers victimized by Defendants' practices,

and has controlled the payment of Credit Bureau Center's affiliate marketers.

        8.     Defendant Danny Pierce ("Pierce") is an individual who resides in Belleville,

New Jersey. At all times material to this Complaint, acting alone or in concert with others, he

has formulated, directed, controlled, had the authority to control, or participated in the acts and

practices set forth in this Complaint. Defendant Pierce is an affiliate marketer responsible for

fake rental property ads on Craigslist and fake landlord emails used to attract consumers to

eFreeScore.com, CreditUpdates.com, and FreeCreditNation.com, and has personally received

over $2.1 million from Credit Bureau Center for driving consumer traffic to the websites.

Defendant Pierce, in connection with the matters alleged herein, transacts or has transacted

business in this district and throughout the United States.



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         9.       Defendant Andrew Lloyd ("Lloyd") is an individual who resides in Beaver,

Pennsylvania. At all times material to this Complaint, acting alone or in concert with others, he

has formulated, directed, controlled, had the authority to control, or participated in the acts and

practices set forth in this Complaint. Defendant Lloyd is an affiliate marketer responsible for

fake rental property ads on Craigslist and fake landlord emails used to attract consumers to

eFreeScore.com, CreditUpdates.com, and FreeCreditNation.com, and has registered numerous

Internet domains used to generate the Craigslist ads, receive responses from consumers to the

ads, and send replies to consumers from the purported landlords. Defendant       Lloyd, in

connection with the matters alleged herein, transacts or has transacted business in this district

and thoughout the United States.

                                            COMMERCE

         10.      At all times material to this Complaint, Defendants have maintained   a substantial

course of trade in or affecting commerce, as "commerce" is defined in Section 4 of the FTC Act,

1s   u.s.c.   $ 44.

                            DEFENDANTS' BUSINESS ACTIVITIES

         1   1.   Since at least January 2014, Defendants have deceptively advertised, marketed,

promoted, and sold credit monitoring services to consumers throughout the United States.

Defendants use fake ads and landlord emails offering apartments and houses for rent to lure

consumers to websites offering purportedly "free" credit scores and reports. When consumers

visit the websites, Defendants deceive them into signing up for   a negative   option seven-day trial

of a credit monitoring service, after which many consumers are charged $29.94 monthly without

their authorization. Defendants' scheme has generated more than 500 consumer complaints and

has caused    millions of dollars of consumer loss.



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                              Defendants' Fake Ads for Rental Properties

       12.        Defendants Credit Bureau Center and Brown (collectively "Credit Bureau Center

Defendants") operate websites offering consumers purportedly "free" credit scores and reports,

including eFreeScore.com and CreditUpdates.com. To attract consumers to their websites, the

Credit Bureau Center Defendants work together with Defendants Pierce and Lloyd, who are

affiliate marketers. The Credit Bureau Center Defendants pay commissions to Defendant Pierce

for the consumer traffic that he and Defendant Lloyd drive to the websites.

       13.        Defendants Pierce and Lloyd, acting on behalf of the Credit Bureau Center

Defendants, place advertisements on the Internet, typically on Craigslist, offering houses or

apartments for rent on favorable terms. The ads are fake. The advertised properties either do not

exist, or are properties that Defendants have no authority to offer for rent. The ads are designed

to generate responses from consumers, whom Defendants then target for enrollment in a negative

option continuity plan.

       14.        Defendants' ads for rental properties typically include a caption, for example,

"$1005/2br   -   Enjoy panoramic views of everything around! (Evanston)," followed by one or

more pictures purporting to show the interior and/or exterior of the property, and a detailed

written description of its alleged features. One of Defendants' ads on Craigslist, for example,

posted in May 2016, described the unit as follows:

                  2   Bedrooms,   2 Full Bathrooms, ffid    has been   fully   renovated

                 throughout; brand new High Efficiency CAC and Furnace, brand

                  new hot water heater, hardwood floors refinished, new linoleum in

                  the Kitchen as well as Pantry, whole inside painted, all three toilets

                  remodeled (light fixtures, paint, sink countertops, faucets, tile),



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               kitchen   remodeled brand new, never used stainless steel
               appliances (fridge, gas stove/oven, dishwasher), new countertop;

               gas heat, brand nednever used Washer/Drier, remote control

               interior light system, built-in smoke alarm system, chandler [sic] in

               master bedroom, new electric circuit breaker, whole lower level

               paneled, two fireplaces (one ledge stone and one Tennessee brick),

               constructed   in the wall aquarium, constructed in the wall glass

               bookcase, quite       big walk-in cupboards, really big built          in

               shed/studio, new blinds throughout, incredibly large screen porch

               overlooking the city.

The ads represent that the property, as pictured and described therein, is currently available for

rent. The ads identi$ the geographic     area where the property is located, but   typically do not

provide the exact address or a telephone number for inquiries. Consumers who are interested in

the property must respond to the ad by email.

        15.    Defendants' ads convince consumers looking for housing that the advertised

properties exist and are currently available for rent through the person who posted the ad.

Deceived by the ads, many consumers respond by email seeking more information and/or to

schedule a tour of the property.

                                   Defendants' Fake Landlord Emails

        16.    Consumers who respond to Defendants' fake ads for rental properties receive fake

landlord emails promoting the properties and directing consumers to the Credit Bureau Center

Defendants' websites.




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        17.    The fake landlord email aims to boost the consumer's interest in the rental

opportunity. The email typically states, for example, that the consumer is the "second" person to

respond to the ad, even though the same message is sent to all consumers who respond. The first

prospective tenant has withdrawn, according to the email, "So we give the opportunity to you."

The email typically also includes statements touting the rental property's amenities, such as, "We

just finished all new renovations and are now prepared to lease with flexible terms," "All utilities

are priced into the lease along   with garage parking spaces," and "You have the option to

customize your paint color and flooring prior to your arrival."

        18.    Defendants use the fake landlord email to artificially create demand for credit

reports and scores and promote themselves as the trusted source of supply. The email falsely

states that the advertised property is   still available for rent,   and that the consumer can set up an

appointment to tour the property on one condition. In order to tour the property, the email

explains, the consumer must obtain a copy of his or her credit report and score and bring it to the

tour. The email instructs the consumer to click on a link included in the email to obtain the

report. The email adds reassuring statements such as "[a]ll of our tenants use this site because it

is widely trusted," and "[a]ll you need to do is    fill   out the form and you get your report." As an

extra incentive, the email often states that, if the consumer's credit score exceeds a certain level,

such as 650, the landlord   will waive the security deposit.

        19.    Typical of Defendants' fake landlord emails is the following, sent in April 2016to

a consumer who responded to one of Defendants' fake rental property ads            in Chicago:




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       20.     The fake landlord emails induce consumers to click on links that take them to

websites operated by the Credit Bureau Center Defendants. Based on the emails, consumers

believe they are visiting the websites to obtain their credit reports and scores as instructed by the

landlord so they can tour the rental property.

                               The Credit Bureau Center Defendants' Websites

       21.     Clicking on the link in the fake landlord emails takes consumers to the Credit

Bureau Center Defendants' websites offering purportedly "free" credit scores and reports,

including eFreeScore.com and Creditupdates.com, which are materially similar. On the

websites, consumers are routed through a succession of four webpages to obtain their credit

scores and reports: a landing page followed by three webpages marked as steps 1 through 3.


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       22.     Landing Page. The first webpage consumers see upon arrival at the Credit Bureau

Center Defendants' websites is the landing page. Across the top of the landing page, in large

bold letters, is the statement: "Get Your Free Credit Score and Report as of [current date]."

Within this statement, the words "Free Credit Score" appear in bright orange. Below that is                  a


large box captioned "START HERE" with spaces for consumers to enter their name, email

address, and zip code. After providing this information, consumers proceed by clicking a large

orange button labeled          "YOUR SCORE - NOW!"

       23.     The eFreeScore.com landing page appears on a mobile device as shown in

subparagraphs a. through f.           below. Subparagraph a shows the page       as   it appears when it first

loads. Subparagraph b shows the button consumers must click to proceed. Subparagraphs c

through f show the page as it would appear                if a consumer were to scroll down   the page:




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                    Get Your Free
                     Credit Score
                    and Report as
                of April 4,2016




       a.                                                       b.




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        24.      Nowhere does this page disclose that consumers attempting to obtain their "free"

credit report and score, in order to tour the property they seek to rent, will be enrolled in an

unrelated credit monitoring program, and charged$.29.94 monthly, unless and until they cancel

the service.

        25.      When accessed on a desktop computer, the landing page includes small print

stating, "7 -day trial ends [date]" and, separately, "Monthly membership of $29.94 automatically

charged after   trial."   These statements are much smaller and fainter than the large, bold text

above them stating, "Get Your Free Credit Score and Report as of         [date]." These small print

statements do not inform consumers that the referenced 7-day trial and monthly charges are

connected to a separate credit monitoring service, and that consumers must sign up for this

service in order to obtain the promised free credit score and report. Exhibit     I hereto shows the

landing page for eFreeScore.com as it appears on a desktop computer screen. Exhibit 2 hereto

shows the   full content of the same landing page    as   it appears on a desktop computer screen,

including the portion of the page that consumers would have to scroll down to see.

        26.      Consumers who enter the requested information and click the large       "YOUR

SCORE - NOW!" button find themselves on a second webpage requesting more personal

information. This webpage lists three steps: (1) Complete, (2) Confirm, and (3) Verify, with the

first step, "Complete," highlighted, followed by the words "Account Setup" in bold.

        27.      Step 1. To complete Step 1, consumers must enter their nErrne, address, email

address, and phone number, and then create a username and password. Below the spaces for this

information, there is a large orange button labeled "Submit & Continue." Exhibit 3 hereto shows

thb "Step 1" webpage for eFreeScore.com as it appears on a desktop computer screen.




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         28.    Step    2.   Consumers who enter their account information and click the "Submit   &

Continue" button are taken to another webpage listing the same three steps as the previous

webpage. Here, the second step, "Confirm," is highlighted. The stated purpose of this webpage

is to confirm consumers' identity before providing the free credit score and report. At the top, in

large bold letters, the webpage states, "Your credit score is ready once we confirm your

identity!" followed by a check mark and the words "Located Credit File" in green. Below that is

the bold heading "Verification and Payment Information," followed by a line of text that states,

"Tell   us which card you would     like to use for your $1.00 refundable processing fee and

membership." Under that are spaces for consumers to enter their credit or debit card

information. Consumers advance to the next webpage by pressing another large orange "submit

& Continue" button. An ineffective disclosure in small print, below the spaces for card

information, is not adequate to inform consumers that their cards will be charged an additional

$29.94 per month after a7-day       trial. Exhibit 4 hereto   shows the "step 2" webpage for

eFreeScore.com as it appears on a desktop computer screen.

         29.    Step    3. Consumers who filI in their card information    and click "Submit   &

Continue" are taken to another webpage listing the same three steps as previous webpages.

Here, the third step,   "Verifu," is highlighted. This webpage requires consumers to enter their

birthdate and Social Security number. Consumers then proceed by clicking the "submit and

Continue" button to access their credit score and report. Exhibit 5 hereto shows the "Step 3"

webpage for eFreeScore.com as it appears on a desktop computer screen.

         30.    After completing Steps I through 3, many consumers obtain their credit reports

and scores, and resume their pursuit of the rental opportunity, without realizingthey have been

automatically signed up for a negative option seven-day trial of the Credit Bureau Center



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Defendants' credit monitoring service. After seven days, unless consumers discover and take

affirmative steps to cancel the service, the Credit Bureau Center Defendants' charge $29.94,

every month, to the credit or debit card consumers entered on the Step 2 webpage described

above.

                            Consumer Complaints and Refund Requests

          31.   After getting their credit report and score from the Credit Bureau Center

Defendants, consumers find it impossible to schedule the promised tour of the rental property

advertised on Craigslist. Consumers who attempt to contact the purported landlord to submit

their credit report/score receive no response, or their email messages are returned as

undeliverable. That is because the original rental ad and the landlord email are fake-they

function solely to drive consumer traffic to the Credit Bureau Center Defendants' websites

offering "free" credit reports and scores.

          32.   Many consumers do not know they have been enrolled in the Credit Bureau

Center Defendants' credit monitoring service until they discover a$29.94 charge on their bank

or credit card statement. Some consumers do not notice the recurring charges for several billing

cycles.

          33.   Many consumers have complained to the Credit Bureau Center Defendants, the

Better Business Bureau, and law enforcement agencies about Defendants' practices. Among

other things, many consumers have reported in their complaints:

                a.     that they believed the advertisements for rental properties and the emails

                       from the purported landlords were genuine;

                b.     that they clicked on the links to the Credit Bureau Center Defendants'

                       websites, and provided the information requested on the websites, solely



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                       to obtain their credit reports and scores in order to pursue the rental

                       opportunity;

                       that they did not expect or authorize the Credit Bureau Center Defendants

                       to place monthly charges of $29.94 on their credit or debit cards; and

               d.      that they were highly alarmed to discover they had disclosed their Social

                       Security numbers, birthdates, and other personal information to a business

                       advertising fake rental opportunities and charging consumers without

                       authorization.

        34.    In numerous instances, consumers also have reported the above complaints to the

Credit Bureau Center Defendants' customer service representatives.

       35.     In numerous instances, the Credit Bureau Center Defendants have denied refunds

or given only partial refunds to consumers who reported they did not knowingly enroll in the

Credit Bureau Center Defendants' credit monitoring service.

                              VIOLATIONS OF TIIE, FTC ACT

       36.     Section 5(a) of the FTC Act, 15 U.S.C. $ 45(a), prohibits o'unfair or deceptive acts

or practices in or affecting commerce."

       37.     Misrepresentations or deceptive omissions of material fact constitute deceptive

acts or practices prohibited by Section 5(a) of the FTC Act.

                                               COUNT    I
                                        (Against all Defendants)

       38.     In numerous instances in connection with the marketing of credit reports and

scores, Defendants have represented, directly or indirectly, expressly or by implication, that:




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               a.        a residential   property described in an online ad is currently available for

                         rent from someone consumers can contact through that ad; and

               b.        the property will be shown to consumers who obtain their credit reports

                         and scores through the Credit Bureau Center Defendants' website.

        39.    In truth and in fact, in numerous instances in which Defendants have made the

representations set forth in Paragraph 38 of this Complaint:

               a.        the residential property described in the online ad is not currently available

                         for rent from someone consumers can contact through that ad; and

               b.        the property is not shown to consumers who obtain their credit reports and

                         scores through the Credit Bureau Center Defendants' website.

        40.    Therefore, Defendants' representations as set forth in Paragraph 38 of this

Complaint are false and misleading and constitute deceptive acts or practices in violation of

Section 5(a) of the FTC Act, 15 U.S.C. $ 5(a).

                                                COUNT      II
                          (Against the Credit Bureau Center Defendants)

        41.    In numerous instances, the Credit Bureau Center Defendants have represented,

directly or indirectly, expressly or by implication, that they are offering consumers their credit

scores and reports   for free.

       42.     In numerous instances in which the Credit Bureau Center Defendants have made

the representation set forth in Paragraph 41 of the Complaint, the Credit Bureau Center

Defendants have failed to disclose, or failed to disclose adequately to consumers, material terms

and conditions of the offer, including:




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                       That the Credit Bureau Center Defendants will automatically enroll

                       consumers in a negative option continuity plan with additional charges;

               b.      That consumers must affirmatively cancel the negative option continuity

                       plan before the end of a trial period to avoid additional charges;

               c.      That the Credit Bureau Center Defendants     will   use consumers' credit or

                       debit card information to charge consumers monthly for the negative

                       option continuity plan;

               d.      The costs associated with the negative option continuity plan; and

               e.      The means consumers must use to cancel the negative option continuity

                       plan to avoid additional charges.

       43.     The Credit Bureau Center Defendants' failure to disclose or disclose adequately

the material information described in Paragraph42, above, in light of the representation

described in Paragraph 41, above, constitutes a deceptive act or practice in violation of Section

5(a) of the FTC Act, 15 U.S.C. $ a5(a).

                                VIOLATIONS OF THE
                    RE,STORE ONLINE SHOPPERS' CONFIDENCE ACT

       44.     In 2010, Congress passed the Restore Online Shoppers' Confidence Act,         15


U.S.C $$ 8401 et seq., which became effective on December 29,2010. Congress passed

ROSCA because "[c]onsumer confidence is essential to the growth of online commerce. To

continue its development as a marketplace, the Intemet must provide consumers with clear,

accurate information and give sellers an opportunity to    fairly compete with one another for

consumers' business." Section 2 of ROSCA, 15 U.S.C. $ 8401.

       45.     Section 4 of ROSCA, l5 U.S.C. $ 8403, generally prohibits charging consumers

for goods or services sold in transactions effected on the Intemet through a negative option


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feature, as that term is defined in the Commission's Telemarketing Sales Rule ("TSR"), 16

C.F.R. $ 310.2(w), unless the seller (1) clearly and conspicuously discloses all material terms of

the transaction before obtaining the consumer's billing information, (2) obtains the consumer's

express informed consent before making the charge, and (3) provides a simple mechanism to

stop recurring charges. See 15 U.S.C. $ 8403.

        46.      The TSR defines a negative option feature as: "in an offer or agreement to sell or

provide any goods or services, a provision under which the customer's silence or failure to take

an affirmative action to reject goods or services or to cancel the agreement is interpreted by the

seller as acceptance of the   offer." l6 C.F.R. $ 310.2(w).

       47.       As described in Paragraphs I I to 35 above, the Credit Bureau Center Defendants

have advertised and sold their credit monitoring service to consumers through a negative option

feature as defined by the TSR. Sea l6 C.F.R. $ 310.2(w).

       48.       Pursuant to Section 5 of ROSCA,     l5 U.S.C.   $ 8404, a violation of ROSCA is a

violation of   a rule promulgated under   Section l8 of the FTC Act, l5 U.S.C. $ 57a.

                                              COUNT       III
                               Failure to Disclose AII Material Terms

                         (Against the Credit Bureau Center Defendants)

        49.      In numerous instances, the Credit Bureau Center Defendants have charged or

attempted to charge consumers for the Credit Bureau Center Defendants' credit monitoring

service through a negative option feature while failing to clearly and conspicuously disclose all

material terms of the transaction before obtaining consumers' billing information.




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         50.    The Credit Bureau Center Defendants' acts or practices, as described in Paragraph

49 above, constitute a violation of Section 4(1) of ROSCA, l5 U.S.C. $ 8403(1), and are

therefore a violation of a rule promulgated under Section 18 of the FTC Act, 15 U.S.C. $ 57a.

                                             COUNT IV

                   Failure to Obtain Consumers'Express Informed Consent

                        (Against the Credit Bureau Center Defendants)

         51.    In numerous instances, the Credit Bureau Center Defendants have charged or

attempted to charge consumers for the Credit Bureau Center Defendants' credit monitoring

service through a negative option feature while failing to obtain consumers' express informed

consent before charging their credit card, debit card, bank account, or other financial account for

the Credit Bureau Center Defendants' credit monitoring service.

         52.    The Credit Bureau Center Defendants' acts or practices, as described in Paragraph

51 above, constitute a violation of Section a(2) of ROSCA,        l5 U.S.C. $ 8403(2),   and are

therefore a violation of a rule promulgated under Section l8 of the FTC Act, 15 U.S.C. $ 57a.

                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                          AND THE TRE,E REPORTS RULE

         53.    The Fair Credit Reporting Act, 15 U.S.C. $$ 1681-1681x ("FCRA"), was enacted

in   1970, became effective on   April 25, 1971,   and has been in force since that date.

         54.    In 2003, Congress passed the Fair and Accurate Credit Transactions Act of 2003

("FACT Act"), Pub. L. 108-159, 117 Stat. 1952 (December 4, 2003). Section 211 of the FACT

Act amended Section 612 of the FCRA, 15 U.S.C. $ 1681j, to require nationwide consumer

reporting agencies to provide all consumers with a copy of their credit report once during any

twelve-month period, upon request of the consumer and without charge. Section 211 directed




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the FTC to promulgate a rule establishing a "centralized source" through which consumers could

request their reports.

         55.     In2004, the FTC issued the Free Annual File Disclosures Rule, l6 C.F.R. Part

610 ("Free Reports Rule"). The rule set forth requirements for establishing the centralized

source, including a dedicated website through which consumers could order their free reports.

That website, AnnualCreditReport.com, has been operating since 2004.

         56.     1n2009, Congress passed the Credit Card Accountability Responsibility and

Disclosure Act of 2009, Pub. L.    lll-24,   123 Stat. 1734 (May 22,2009) ("Credit CARD Act").

Section 205 of the Credit CARD Act amended Section 612 of the FCRA to prevent deceptive

marketing of credit reports. As amended, Section 612(9,) provides, in part:

                 Subject   to rulemaking pursuant to section 205(b) of the Credit

                 CARD Act of 2009, any advertisement for a free credit report in

                 any medium shall prominently disclose in such advertisement that

                 free credit reports are available under Federal law             at:

                 'AnnualCreditReport.com'      (or such other source as may be
                 authorized under Federal law)."

15 U.S.C. $    1681j(g)(1). To carry out this section, Congress directed the FTC to promulgate   a


rule requiring specific disclosures in advertisements for free credit reports. Credit CARD Act

$   205(b). Accordingly, in 2010, the FTC amended the Free Reports Rule to require certain

disclosures in advertisements for free credit reports. 16 C.F.R. $ 610.4.

         57.     In2011, following passage of the Dodd-Frank Act, the Consumer Financial

Protection Bureau republished the Free Reports Rule at 12 C.F.R. $$ 1022.130-138. The FTC

continues to enforce Section 612(g) of the FCRA and the Free Reports Rule pursuant to Section



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621(a)(l) of the FCRA, 15 U.S.C. $ 1681s(a)(l). Pursuant to Section 621(a)(l), "a violation of

any requirement or prohibition imposed under [the FCRA] shall constitute an unfair or deceptive

act or practice in commerce, in violation of Section 5(a) of the [FTC]     Act."   15 U.S.C.


$ 1681s(a)(l).

           58.     Under the Free Reports Rule, 15 C.F.R. $ 610.4, recodified at 12 C.F.R.

$ 1022.138, "free credit report" means "a frle disclosure prepared by or obtained from, directly

or indirectly, a nationwide consumer reporting agency (as defined in Section 603(p) of the

FCRA), that is represented, either expressly or impliedly, to be available to the consumer at no

cost ifthe consumer purchases a product or service, or agrees to purchase a product or service

subj ect   to cancellation.   "

           59.     The Free Reports Rule, 16 C.F.R. $ 610.4, recodified at l2 C.F.R. $ 1022.138,

requires, inter alia, that any website offering free credit reports must display a prominent

disclosure, across the top of each page that mentions free credit reports, and across the top   of

each page of the ordering process, which states:

                   THIS NOTICE IS REQUIRED BY LAW. Read more at

                   consumerfi nance. gov/learnmore.

                   You have the right to a free credit report from

                   AnnualCreditReport. com or   87 7   -322-8228, the ONLY authorized

                   source under federal law.

The disclosure must include a clickable button to "Take me to the authorized source" and

clickable links to AnnualCreditReport.com and consumerfinance.gov/leammore. The disclosure

must appear in the specific location, format, size, and color specified in the rule. 12 C.F.R.

$$ 1 022. 1 38(b)(a)(i)-(viii).



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                                            COUNT V

                        (Against the Credit Bureau Center Defendants)

       60.     In numerous instances, the Credit Bureau Center Defendants have operated

websites offering free credit reports, including eFreeScore.com and CreditUpdates.com, without

displaying across the top of each page that mentions free credit reports, and across the top   of

each page of the ordering process, the prominent disclosure required by the Free Reports Rule,

l2 C.F.R. $ 1022.138, to inform   consumers of their right to obtain a free credit report from

AnnualCreditReport.som or (877) 322-8228.

       61.     The Credit Bureau Center Defendants' acts or practices, as described in Paragraph

60 above, violate Section 612(g)(1) of the FCRA, 15 U.S.C. $ 1681j(g)(1), and the Free Reports

Rule, 12 C.F.R. $ 1022.138.

                                     CONSUMER INJURY

       62.     Consumers have suffered and will continue to suffer substantial injury as a result

of Defendants' violations of the FTC Act, ROSCA, the FCRA, and the Free Reports Rule. In

addition, Defendants have been unjustly enriched as a result of their unlawful acts or practices.

Absent injunctive relief by this Court, Defendants are likely to continue to injure consumers,

reap unjust enrichment, and harm the public interest.




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                        THIS COURT'S POWER TO GRANT RELIEF

        63.     Section l3(b) of the FTC Act, 15 U.S.C.     $ 53(b),   empowers this Court to grant

injunctive and such other relief as the Court may deem appropriate to halt and redress violations

of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

remedy any violation of any provision of law enforced by the FTC.

                                     PRAYER FOR RELIEF

        Wherefore, Plaintiff FTC, pursuant to Section 13(b) of the FTC Act, 15 U.S.C. $ 53(b),

Section 5 of ROSCA, 15 U.S.C. $ 8404, Section 621(a)(I) of the FCRA, 15 U.S.C.

$ 1681s(a)(1), the Free Reports Rule, 12 C.F.R. $ 1022.138, and the Court's own equitable

powers, requests that the Court:

        A.     Award Plaintiff such preliminary injunctive and ancillary relief as may be

necessary to avert the likelihood of consumer injury during the pendency of this action and to

preserve the possibility of effective final relief, including but not limited to, temporary and

preliminary injunctions, an order freezing assets, immediate access, and appointment of a

receiver;

        B.     Enter a permanent injunction to prevent future violations of the FTC Act,

ROSCA, the FCRA, and the Free Reports Rule by Defendants;

        C.     Award such relief   as the   Court finds necessary to redress injury to consumers

resulting from Defendants' violations of the FTC Act, ROSCA, the FCRA, and the Free Reports

Rule, including but not limited to, rescission or reformation of contracts, restitution, the refund   of

monies paid, and the disgorgement of ill-gotten monies; and



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       D.      Award Plaintiffthe costs of bringing this action, as well as such other and

additional relief as the Court may determine to be just and proper

                                             Respectfully submitted,

                                             DAVID C. SHONKA
                                             Acting General Counsel


Dated: January 10,2017

                                             SAMUEL A.A. LEVINE
                                             Federal Trade Commission
                                             55 West Monroe Street, Suite 1825
                                             Chicago, Illinois 60603
                                             (3 12) 9 60-5634 [telephone]
                                             (3 12) 960-5600 [facsimile]
                                             gward@ftc.gov
                                             slevinel@ftc.gov

                                             Attorneys for Plaintiff
                                             FEDERAL TRADE COMMISSION




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                     EXHIBIT                     2
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                     EXHIBIT 3
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                     EXHIBIT                     4
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                                                                        Exhibit 5
